Case 2:99-cv-00806-DB Document 47

PAUL M. WARNER (3389)
United States Attorney

CARLIE CHRISTENSEN (0633)
Assistant United States Attorney
185 South State Street, Suite 400
Salt Lake City, Utah 84101
Telephone: (801) 524-5682

ROBERT S. WATKINS
Chief, Civil Trial Section
Western Region, Tax Division

CHRISTOPHER H. LA ROSA
Trial Attorney, Tax Division
United States Department of Justice
P.O. Box 683, Ben Franklin Station
Washington, D.C. 20044-0683
Telephone: (202) 307-6559
Facsimile: (202) 307-0054

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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF UTAH, CENTRAL DIVISION

COMPHEALTH, INC.

Plaintiff-Counterclaim Defendant,

Vv.

UNITED STATES OF AMERICA

Defendant-Counterclaimant.

Civil No. 2:99-CV-806B

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STIPULATION OF DISMISSAL

It is hereby stipulated and agreed by and between CompHealth, Inc., and the United

States of America, through their respective undersigned counsel, that the Complaint and

Counterclaim filed in the above-entitled case be dismissed with prejudice, the parties to bear

 
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their respective costs and expenses, including any attorney’s fees.

For Plaintiff-Counterclaim-Defendant

KENNETH B. BLACK (5588)
Stoel Rives LLP

201 S. Main Street, Suite 1100
Salt Lake City, UT 84111-4904
Telephone: (801) 328-3131

 

 

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JEFF COOPER,

__.Schngder Hattison Segal & Lewis LLP
1609 Market Street, Suite 3600
Philadelphia, PA 19103

Telephone: (215) 751-2096

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Dated: 2 foe

For Defendant—Counterclaimant

ROBERT S. WATKINS

Chief, Civil Trial Section

Western Region, Tax Division
United States Department of Justice

PAUL M. WARNER (3389)
United States Attorney

CARLIE CHRISTENSEN (0633)
Assistant United States Attorney

Tun unt Ochs if ta ah oly by thera
CHRISTOPHER H. LA ROSA!

Trial Attorney, Tax Division

United States Department of Justice
P.O. Box 683, Ben Franklin Station
Washington, D.C. 20044-0683
Telephone: (202) 307-6559

Dated: pa | Lledo

 

 
